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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
                                NEW ORLEANS DIVISION

IN RE: OIL SPILL by the OIL RIG                      §               MDL NO. 2179
 “DEEPWATER HORIZON” in the                          §
 GULF OF MEXICO, on                                  §               SECTION J
 APRIL 20, 2010                                      §
                                                     §
This document relates to:                            §
                                                     §               JUDGE BARBIER
         NO. 2:12 CV 529                             §               MAG. JUDGE SHUSHAN


        ORDER OF DISMISSAL OF PLAINTIFFS, R. THOMAS CATES, DDS &
                      DOUGLAS HIGHTOWER, ONLY


       BE IT REMEMBERED that in the above styled and numbered Cause came on this date to

be heard Motion to Dismiss of Plaintiffs, R. Thomas Cates, DDS and Douglas Hightower, ONLY,

and the Court, being of the opinion that same should be granted;

       It is, therefore, ORDERED, ADJUDGED and DECREED by the Court that the cause of

action as to the Plaintiffs, R. Thomas Cates, DDS and Douglas Hightower ONLY, in the above styled

cause, is hereby nonsuited without prejudice, with the costs of the Court being adjudged against the

party incurring same.

       SIGNED this the ______ day of _______________, 2012.




                                                 ____________________________________
                                                 HONORABLE JUDGE PRESIDING
